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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 Jessicca Spurck, individually and on behalf
 of all others similarly situated,
                                                         Case No. 7:21-cv-05506-NSR
                                 Plaintiff,
                                                    NOTICE OF MOTION TO DISMISS
                    -against-                               COMPLAINT

 Demet's Candy Company, LLC,

                                Defendant.

        PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendant’s Motion to Dismiss Plaintiff’s Complaint, Defendant Star Brands North America,

Inc., erroneously named in the Complaint as Demet's Candy Company, LLC, moves before the

Honorable Nelson Stephen Román, United States District Court Judge for the Southern District

of New York, at the United States District Courthouse, 300 Quarropas Street, White Plains, NY

10601, Courtroom 218, for an order dismissing the Complaint of Plaintiff Jessica Spurck (Dkt. 1)

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, on the grounds that the

Complaint fails to state a claim upon which relief can be granted.


Dated: December 21, 2021                             Respectfully submitted,

                                                     /s/ August T. Horvath
                                                     August T. Horvath (AH 8776)
                                                     ahorvath@foleyhoag.com
                                                     FOLEY HOAG LLP
                                                     1301 Avenue of the Americas, 25th floor
                                                     New York, NY 10019
                                                     Tel: (646) 927-5500
                                                     Fax (646) 927-5599

                                                     Attorneys for Defendant Star Brands North
                                                     America, Inc.



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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 22nd day of December 2021, a true and

correct copy of the foregoing document has been served on counsel of record who are deemed to

have consented to electronic service via electronic mail.


                                             /s/ August T. Horvath
                                             August T. Horvath




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